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                  IN THE UNITED STATES DISTRICT COURT
        FOR THE NORTHERN DISTRICT OF ILLINOIS – EASTERN DIVISION

CHRISTINA BUSH and JOSEPH BUSH,                           )
in their own right and as parents of their                )
infant daughter A.B.,                                     )
                                                          )
                       Plaintiffs,                        )
                                                          )
               vs.                                        )
                                                          )
LUDLOW COMMUNITY                                          )   Case No. 1:21-cv-04591
CONSOLIDATED SCHOOL                                       )
DISTRICT 142; HEALTH CARE SERVICE                         )
CORPORATION, d/b/a BLUE CROSS                             )
BLUE SHIELD OF ILLINOIS; QUALITY                          )
NETWORK SOLUTIONS, INC. BENEFIT                           )
PLAN; AETNA LIFE INSURANCE                                )
COMPANY; PEDIATRIC FACULTY                                )
FOUNDATION, INC.; SILVER CROSS                            )
HOSPITAL AND MEDICAL CENTERS;                             )
and VISION FINANCIAL RECOVERY,                            )
INC.,                                                     )
                 Defendants.                              )

                               STIPULATION FOR DISMISSAL

       Plaintiffs Christina Bush and Joseph Bush (collectively “Plaintiffs”) and Defendants

Ludlow Community Consolidated School District 142, Health Care Service Corporation, d/b/a

Blue Cross Blue Shield of Illinois; Quality Network Solutions, Inc. Benefit Plan; Aetna Life

Insurance Company; Pediatric Faculty Foundation, Inc; Silver Cross Hospital and Medical

Centers; and Vision Financial Recovery, Inc. (collectively “Defendants”), by and through their

respective attorneys and pursuant to Fed. R. Civ. P. 41(a)(1)(A)(ii), hereby stipulate to the

dismissal of Plaintiffs’ claims against Defendants with prejudice and without costs. This

stipulation of dismissal disposes of the entire action.
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Respectfully submitted,

/s/Carly Roman                              /s/ Brian Eck
Daniel A. Edelman                           Brian Eck
Tara L. Goodwin                             Featherstun, Gaumer, Stocks, Flynn &
Carly M. Roman                              Eck, LLP
EDELMAN, COMBS, LATTURNER                   101 S. State Street Suite 240
       & GOODWIN, LLC                       Decatur, IL 62523
20 S. Clark Street, Suite 1500              Phone: 217-429-4453
Chicago, Illinois 60603-1824                Fax: 217-425-8892
(312) 739-4200                              Attorneys for Defendant Quality Network
Email address for service:                  Solutions, Inc. Benefit Plan
courtecl@edcombs.com
Attorneys for Plaintiffs                    /s/ James M. Bream
                                            James M. Bream
/s/ Steven Hamilton                         Thomas Charles Koessl
Steven David Hamilton                       L&G Law Group, LLP
Reed Smith LLP                              175 West Jackson Boulevard
10 South Wacker Drive                       Suite 950
40th Floor Chicago, IL 60606                Chicago, IL 60604
(312) 207-1000                              (312) 364-2500
Email: shamilton@reedsmith.com              Email: tkoessl@lowis-gellen.com
Attorneys Defendant for Health Care         Attorneys for Defendant Silver Cross
Service Corporation                         Hospital

/s/ Ellen Lueking                           /s/ Craig A. Jacobson
Ellen Denis Lueking                         Craig A. Jacobson
Miller, Tracy, Braun, Funk & Miller,        Gordon & Rees LLP
LTD.                                        One North Franklin
316 S. Charter St. Po Box 80                Suite 800
Monticello, IL 61856                        Chicago, IL 60606
(618) 367-1731                              (312) 980-6784
Email: elueking@millertracy.com             Email: craig.jacobson@gordonrees.com
Attorneys for Defendant Ludlow Community    Attorneys for Defendant Aetna Life
Consolidated School District 142            Insurance Company
    Case: 1:21-cv-04591 Document #: 33 Filed: 04/13/22 Page 3 of 3 PageID #:357




                                CERTIFICATE OF SERVICE


        I, Carly Roman, certify that on Wednesday, April 13, 2022, I caused the electronic filing
of the foregoing document with the Clerk of the Court using the CM/ECF system which will send
notification of such to all parties by operation of the Court’s electronic filing system.


                                                    Respectfully submitted,


                                                    /s/Carly Roman
                                                    Carly Roman

Daniel A. Edelman
Tara L. Goodwin
Carly M. Roman
EDELMAN, COMBS, LATTURNER
       & GOODWIN, LLC
20 S. Clark Street, Suite 1500
Chicago, Illinois 60603-1824
(312) 739-4200
(312) 419-0379 (FAX)
Email address for service:
courtecl@edcombs.com
